Case 2:90-cr-00304-SRC           Document 55        Filed 08/20/09      Page 1 of 3 PageID: 646




                               UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

____________________________________
                                    :
ANDRAY HALL,                        :
                                    :
                  Petitioner,       :
                                    :                 Crim. Action No. 90-304 (SRC)
v.                                  :
                                    :                 OPINION & ORDER
UNITED STATES OF AMERICA,           :
                                    :
                  Respondent.       :
____________________________________:

CHESLER, U.S.D.J.

       This matter comes before the Court on the application by pro se Petitioner Andray Hall

(“Hall”) for relief pursuant to the writ of audita querela, 28 U.S.C. § 1651, and a motion filed by

the United States of America (“the Government”) to dismiss the application. For the reasons

stated below, the Government’s motion to dismiss will be granted.

       On April 30, 1992, Hall was sentenced to 360 months’ imprisonment. Hall appealed his

conviction and sentence, which were affirmed by the Third Circuit on April 6, 1993. Hall filed a

petition under § 2255, which the district court dismissed on April 18, 2000. Hall then petitioned

the Third Circuit for authorization to file a second § 2255 petition, which was denied. In 2005,

Hall applied to the district court for relief from his sentence pursuant to Federal Rule of Civil

Procedure 60(b), which was denied.

       On January 30, 2009, Hall filed a one-page letter application seeking a reduction in his

sentence pursuant to a writ of audita querela. Hall contends that he was deprived of

constitutional rights at sentencing. The Government has moved to dismiss Hall’s application on
Case 2:90-cr-00304-SRC            Document 55        Filed 08/20/09      Page 2 of 3 PageID: 647




a number of grounds.

        Having reviewed the submissions of the parties, this Court concludes that, under the

circumstances of this case, the relief Hall seeks by way of a writ of audita querela is unavailable

to him. Although the Third Circuit has not decided any precedential audita querela cases, it has

discussed the writ in a series of nonprecedential opinions, one of which is Muirhead v. AG of the

United States, 262 F. App’x. 473, 474 (3d Cir. 2008), in which the Court stated:

        Several courts of appeals have concluded that the All Writs Act, 28 U.S.C. §
        1651, grants courts authority to order audita querela relief in exceptional
        circumstances. However, the writ is available only where the petitioner raises a (1)
        valid legal objection; (2) to a judgment that arises after that judgment is entered;
        and (3) that is not redressable by some other means.

        Hall’s application does not meet the second and third requirements. Hall has not raised

any legal objection that arose after the judgment was entered, and the issues he has raised were

redressable by another means, a § 2255 petition.

        The Third Circuit recently decided a case very similar to the present one in United States

v. Jefferson, 2009 WL 1452048 (3d Cir. May 26, 2009). In Jefferson, the petitioner had appealed

his sentence, unsuccessfully pursued a § 2255 petition, and then sought relief from his sentence

by way of a writ of audita querela. Affirming the district court’s decision to deny relief, the

Court stated:

        [Petitioner’s] lack of success in a previous § 2255 motion, however, does not
        render § 2255 inadequate or ineffective to challenge that portion of his sentence.
        Thus, [Petitioner] may not use the writ of audita querela to circumvent AEDPA’s
        gatekeeping requirements.

Id. at *1 (citation omitted).

        Similarly, in the instant case, this Court finds that Hall seeks to use the writ of audita

querela to circumvent AEDPA’s gatekeeping requirements. The relief Hall seeks is unavailable
Case 2:90-cr-00304-SRC         Document 55             Filed 08/20/09    Page 3 of 3 PageID: 648




to him. The Government’s motion to dismiss will be granted.

       For these reasons,

       IT IS on this 20th day of August, 2009,

       ORDERED that the Government’s motion to dismiss Petitioner’s application (Docket

Entry No. 46) is GRANTED, and Petitioner’s application for relief pursuant to the writ of audita

querela, 28 U.S.C. § 1651, is DISMISSED.



                                                          /s Stanley R. Chesler
                                                        STANLEY R. CHESLER
                                                        United States District Judge




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